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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                      Chapter 11

LORDSTOWN MOTORS CORP., et al.,1                            Case No. 23-10831 (MFW)

                        Debtors.                            (Jointly Administered)

                                                            Obj. Deadline: March 5, 2024 at 4:00 p.m. (ET)

      SUMMARY OF FOURTH MONTHLY APPLICATION OF MORRIS JAMES LLP,
           AS DELAWARE COUNSEL TO THE OFFICIAL COMMITTEE OF
        EQUITY SECURITY HOLDERS, FOR ALLOWANCE OF COMPENSATION
          AND REIMBURSEMENT OF EXPENSES FOR THE PERIOD FROM
                DECEMBER 1, 2023 THROUGH DECEMBER 31, 2023


    Name of Applicant                                  Morris James LLP

    Authorized to provide professional                 Official Committee of Equity Security Holders
    services to:                                       Lordstown Motors Corp., et al.

    Date of retention order:                           October 16, 2023 nunc pro tunc to September 7, 2023

    Period for which compensation and
    reimbursement sought:                              December 1, 2023 through December 31, 2023

    Compensation sought as actual,
    reasonable, and necessary:                         $22,141.60 (80% of $27,677.00)

    Expense reimbursement sought as actual,
    reasonable, and necessary:                         $836.78

    This is a(n):     X monthly            interim           final




1
 The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
(3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is
27000 Hills Tech Ct., Farmington Hills, MI 48331.



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     Previous Applications:

Monthly Fee        Period Covered       Total Fees      Total   CNO Filing        Amount of     Amount of
Application                             Requested     Expenses   Date &              Fees        Expenses
Filing Date                                           Requested Docket No.        Authorized    Authorized
 & Docket                                                                         to be Paid    to be Paid
    No.
 11/6/2023        September 7, 2023 –                               11/28/2023
                                        $103,916.50       $106.57                 $83,133.20     $106.57
 [D.I. 670]       September 30, 2023                                 [D.I. 751]
12/07/2023         October 1, 2023 –                                12/28/2023
                                        $85,234.50    $1,256.25                   $68,187.60    $1,256.25
 [D.I. 792]        October 31, 2023                                  [D.I. 876]
12/22/2023        November 1, 2023 –                                01/12/2024
                                        $55,122.50        $80.94                  $44,098.00      $80.94
 [D.I. 864]       November 30, 2023                                  [D.I. 911]
TOTALS                                  $244,273.50   $1,443.76                   $195,418.80   $1,443.76




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                     Chapter 11

LORDSTOWN MOTORS CORP., et al.,1                           Case No. 23-10831 (MFW)

                        Debtors.                           (Jointly Administered)

                                                           Obj. Deadline: March 5, 2024 at 4:00 p.m. (ET)

     FOURTH MONTHLY APPLICATION OF MORRIS JAMES LLP, AS DELAWARE
    COUNSEL TO THE OFFICIAL COMMITTEE OF EQUITY SECURITY HOLDERS,
    FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES
     FOR THE PERIOD FROM DECEMBER 1, 2023 THROUGH DECEMBER 31, 2023

         Morris James LLP (“Morris James”), Delaware Counsel to the Official Committee of

Equity Security Holders (the “Equity Committee”) of Lordstown Motors Corp., the above-

captioned debtors (the “Debtors”), hereby submits its monthly fee application (the “Application”)

for entry of an order pursuant to section 331 of title 11 of the United States Code, 11 U.S.C. §§101

et seq, as amended (the “Bankruptcy Code”) granting interim compensation in the amount of

$27,677.00 and reimbursement of expenses in the amount $836.78 for the period from December

1, 2023 through December 31, 2023 (the “Compensation Period”), and in support thereof, Morris

James respectfully represents as follows:

                                      JURISDICTION AND VENUE

         1.      This Court has jurisdiction over this Application pursuant to 28 U.S.C. §1334. This

is a core proceeding pursuant to 28 U.S.C. §157(b)(2)(A) and (B).

         2.      Venue of this proceeding and this Application is proper in this District pursuant to

28 U.S.C. §§1408 and 1409.



1
 The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors Corp.
(3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service address is
27000 Hills Tech Ct., Farmington Hills, MI 48331.



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         3.      The statutory predicate for the relief sought herein is sections 1103 and 331 of the

Bankruptcy Code, Bankruptcy Rule 2016, and Local Rule 2016-2.

                                             BACKGROUND

         4.      On June 27, 2023, (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code (collectively the “Chapter 11 Cases”). The Chapter

11 Cases are being jointly administered for procedural purposes only pursuant to Bankruptcy Rule

1015(b).

         5.      The Debtors have continued in the possession of its property and has continued to

operate and manage its business as Debtors in possession pursuant to sections 1107(a) and 1108

of the Bankruptcy Code. No trustee or examiner has been appointed in the Chapter 11 Cases.

         6.      On July 13, 2023, the Debtor filed the Debtors’ Motion for Entry of an Order

Establishing Procedures for Interim Compensation and Reimbursement of Expenses for Chapter

11 Professionals and Committee Members (the “Interim Compensation Motion”) [Docket No.

111], and on July 25, 2023, the Court entered an Order approving the Interim Compensation

Motion (the “Interim Compensation Order”) [Docket No. 181].

         7.      On September 7, 2023, the United States Trustee for the District of Delaware (the

“United States Trustee”) filed its notice of appointment of the three (3) member Equity Committee

pursuant to section 1102(a)(1) of the Bankruptcy Code.2 On or about June 16, 2023, the Equity

Committee selected Brown Rudnick LLP (“Brown Rudnick”) as its lead counsel, and soon

thereafter Morris James was selected to serve as Delaware counsel to the Equity Committee.

         8.      On September 27, 2023, the Committee filed the Application for Entry of an Order

Authorizing the Retention and Employment of Morris James LLP as Delaware Counsel to The


2
 The Equity Committee members are the following: (1) Crestline Management, L.P.; (2) Pertento Partners LLP; and
(3) Esopus Creek Value Series Fund LP – Series “A”.

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Official Committee of Equity Security Holders Nunc Pro Tunc to September 7, 2023 (the

“Retention Application”) [Docket No. 478]. On October 16, 2023, the Court entered an order

approving the Retention Application, Nunc Pro Tunc to September 7, 2023 [Docket No. 560].

         9.     A chart detailing the fees during the Compensation Period, by professional and by

category and a full and detailed statement describing the services rendered during the

Compensation Period, by each professional and paraprofessional at Morris James are both attached

as Exhibit A.

         10.    The total sum due to Morris James for professional services rendered on behalf

Committee during for the Compensation Period is $27,677.00 Morris James submits that the

professional services it rendered on behalf of the Committee during this time were reasonable and

necessary.

         11.    Morris James incurred $836.78 of expenses during the Compensation Period. A

chart detailing the specific disbursements is attached hereto as Exhibit B.

         12.    The undersigned hereby attests that he has reviewed the requirements of Local Rule

2016-1 and this Application conforms to such requirements, including that travel time was not

billed at more than half rate and copying charges were only $.10 per page.

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         WHEREFORE, Morris James hereby requests pursuant to the procedures allowed in the

Interim Compensation Order: (i) interim allowance of compensation for necessary and valuable

professional services rendered to the Committee in the amount of $27,677.00 and reimbursement

of expenses in the amount of $836.78 for the period from December 1, 2023 through December

31, 2023; (ii) payment in the total amount of $22,978.38 (representing 80% of the total fees

($22,141.60) billed and 100% of the expenses ($836.78) incurred during the Compensation

Period); and (iii) such other relief as this Court deems just and proper.

 Dated: February 14, 2024                         MORRIS JAMES LLP

                                                  /s/ Eric J. Monzo
                                                  Eric J. Monzo (DE Bar No. 5214)
                                                  Brya M. Keilson (DE Bar No. 4643)
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                                                  Counsel to the Official Committee of Equity
                                                  Security Holders




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